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 7
                                 UNITED STATES DISTRICT COURT
 8                                    DISTRICT OF NEVADA
                                             -oOo-
 9
     UNITED STATES OF AMERICA,
10                                                     Case No.: 2:18-mj-00137-CWH
                    Plaintiff,
11                                                     NOTICE OF WITHDRAWAL
            vs.
12
     DOUGLAS HAIG,
13
                    Defendant.
14

15          COMES NOW, the United States of America, by and through Dayle Elieson, United

16   States Attorney, and Cristina D. Silva, Assistant United States Attorney, and hereby file this

17   Notice of Withdrawal. Patrick Burns, Assistant United States Attorney is assigned to this case.

18          Dated this 19th day of April, 2018.

19                                                           Respectfully Submitted,

20                                                           DAYLE ELIESON
                                                             United States Attorney
21                                                                      /s/
                                                             CRISTINA D. SILVA
22                                                           Assistant United States Attorney

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